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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

       Plaintiff,

                   v.                         Civil No. 15-2328 (FAB)

PUERTO RICO INDUSTRIAL
DEVELOPMENT COMPANY,

       Defendant.


                            OPINION AND ORDER

BESOSA, District Judge.

      Before the Court are plaintiff United States’ and defendant

Puerto Rico Industrial Development Company (“PRIDCO”)’s cross-

motions for summary judgment pursuant to Federal Rule of Civil

Procedure 56 (“Rule 56”).          (Docket Nos. 142 and 143.)       The United

States also moves to limit the scope of judicial review.               (Docket

No. 138.)     For the reasons set forth below, the United States’

motion for summary judgment is GRANTED IN PART and DENIED IN PART,

PRIDCO’s motion for summary judgment is DENIED, and the United

States’ motion to limit the scope of judicial review is DENIED

WITHOUT PREJUDICE.       (Docket Nos. 138, 142 and 143.)

I.    Background

      This   matter     concerns    contaminated   groundwater     located     on

property belonging to PRIDCO in Maunabo, Puerto Rico (hereinafter,
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the “property”). 1     The United States asserts that PRIDCO is liable

for “all response costs, including enforcement costs, incurred by

the [Environmental Protection Agency, (“EPA”)] in connection with

the    [Maunabo     Area   Groundwater   Contamination     Superfund     Site]”

pursuant to the Comprehensive Environmental Response, Compensation

and Liability Act (“CERCLA”), 42 U.S.C. § 9607 et seq.                 (Docket

No. 8 at p. 7.)

       Congress drafted CERCLA in 1980 to address the release or

threatened release of hazardous substances into the environment. 2

42 U.S.C. § 9601 et seq.          CERCLA permits the United States to

allocate funds from a “Hazardous Substance Superfund” to finance

cleanup efforts.           26 U.S.C. § 9507.       The United States may

replenish     the     Hazardous    Substance     Superfund      pursuant       to

section 9607 of CERCLA by bringing suit against, among others,

“any person who at the time of disposal of any hazardous substances

owned or operated any facility at which hazardous substances were

disposed of.”       42 U.S.C. § 9607(a); United States v. Bestfoods,



1 The property is located in the “southeastern coastal area of Puerto Rico . .

. surrounded by mountains to the north, east, and west and the Caribbean Sea to
the southwest.” (Docket No. 139, Ex. 2 at p. 21.) The Municipality of Maunabo
identifies the property as L-283-0-06. (Docket No. 11 at p. 2.) PRIDCO owns
a second parcel of land that is also located in Maunabo, identified as Lot-304-
0-66.   (Docket No. 101, Ex. 15 at p. 17.)      This second parcel of land is
unrelated to the CERCLA cause of action.

2 Jurisdiction exists in this action pursuant to 42 U.S.C. § 9613(b), providing
that the “United States district courts shall have exclusive original
jurisdiction over all controversies arising under [CERCLA].”
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524 U.S. 51, 55 (1998) (“CERCLA is a comprehensive statute that

grants the President broad power to command government agencies

and private parties to clean up hazardous waste sites.”) (citation

omitted). 3

      A.      Hazardous Substances Are Located on PRIDCO’s Property

              PRIDCO    is     a     government      instrumentality        of      the

Commonwealth of Puerto Rico, incorporated in 1942 to stimulate the

formation     of   local     firms    and   to    attract    foreign    investment.

(Docket No. 11 at p. 2; Docket No. 117, Ex. 3 at p. 2.)                              To

accomplish      these      ends,     PRIDCO      maintains    an     infrastructure

development program, and facilities for lease or sale to qualified

investors.      (Docket No. 117, Ex. 3 at p. 2.)             The property, which

PRIDCO acquired in 1964, is among these facilities.                         (Docket

No. 117, Ex. 4 at p. 2.) 4




3
 CERCLA empowers the President of the United States to “remove or arrange the
removal of, and provide for remedial action relating to such hazardous
substance, pollutant, or contaminant at any time.”      42 U.S.C. § 9604(a)(1).
President Ronald Reagan first delegated the authority to implement CERCLA to
the EPA pursuant to Executive Order 12580 (January 23, 1987). Section 1 of
Executive Order 12580 requires the National Contingency Plan (“NCP”) to provide
for national and regional response teams to coordinate preparedness and response
actions.

4 Between 1969 and 2015, PRIDCO leased the property to: (1) System Engineering
Labs (1969 through 1971); (2) Coulter de Puerto Rico (1972 through 1980);
(3) Solar Mar of Puerto Rico (1980 through 1984); (4) Orle International Company
(1986 through 1989); (5) Puerto Rico Housing Department (1989 through 1991);
(6) Municipality of Maunabo (1996 through 1998); (7) Premium Fruit Company (1999
through 2003); (8) E.I.G. Aqua Pura de Puerto Rico, Inc; (9) Juan Orozco, Ltd.
(date of lease not specified); and (10) Centro de Acopio Manufacturing (date of
lease not specified). (Docket No. 101-15 at p. 4.)
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             The Puerto Rico Aqueduct and Sewer Authority (“PRASA”)

operates four groundwater supply wells in Maunabo, providing water

to 14,000 people.     (Docket No. 101, Ex. 6 at p. 12.)                    One of the

four PRASA wells is located adjacent to the southern edge of the

property (hereinafter, “Maunabo well”).                 (Docket No. 101, Ex. 14

at p. 17.)    Between 2001 and 2004, PRASA detected volatile organic

compounds (“VOC”), including trichloroethylene (“TCE”) and cis-1,

2-dichloroethene (“cis-1, 2-DCE”), in the public water supply. 5

(Docket No. 101, Ex. 3 at p. 23.)                    TCE and cis-1, 2-DCE are

hazardous    substances.      Id.         In    2002,    PRASA    discovered       that

groundwater from the Maunabo well contained TCE and cis-1, 2-DCE.

(Docket No. 101, Ex. 6 at p. 12.)                    PRASA installed a carbon

filtration system to treat the contaminated groundwater.                      (Docket

No. 101, Ex. 2 at p. 3.) 6

             The EPA and the Puerto Rico Environmental Quality Board

(“EQB”)     are   responsible       for        the    decontamination        of      the

groundwater.      (Docket No. 101, Ex. 6 at pp. 12—13.)                      The EPA

confirmed     that   the   groundwater          from     the     Maunabo    well     is



5 TCE is a chlorinated solvent that degrades into cis-1, 2-DCE upon disposal
into the environment. (Docket No. 101, Ex. 6 at p. 12.)

6 The Puerto Rico Department of Health (“PRDOH”) ordered PRASA to discontinue
use of the Maunabo well in 2002. (Docket No. 101-3 at p. 11.) Rather than
close the Maunabo well, however, PRASA installed carbon filtration tanks. Id.
According to CMD Smith, a firm hired by the EPA to study the contaminated
groundwater, this system “was not always effective and [. . .] contaminated
drinking water was reaching the consumers.” Id.
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contaminated primarily with cis-1, 2-DCE.                Id. at p. 26.      After

further    investigation,      the    EPA   discovered      three    plumes      of

contaminated groundwater throughout the Municipality of Maunabo.

(Docket No. 101, Ex. 5 at p. 171.)          The three plumes are referred

to as:     (1) cis-1, 2-DCE, (2) PCE, and (3) 1, 1-DCE.                   (Docket

No. 101, Ex. 5 at p. 171.)        The cis-1, 2-DCE plume is located below

the    property,    “flow[ing]    southwest     toward    [a]    river,   but    is

intercepted by [the Maunabo well].”             (Docket No. 101, Ex. 6 at

p. 26; Docket No. 101, Ex. 3 at p. 14.)           The PCE plume is located

south of the PRIDCO property near a former sugar mill.                    (Docket

No. 101, Ex. 4 at p. 18.)        The 1, 1-DCE plume is located northwest

of the property.      (Docket No. 101, Ex. 6 at p. 12.)           Together, the

three plumes comprise the Maunabo Area Groundwater Contamination

Superfund Site (hereinafter, “the site”).            (Docket No. 101, Ex. 6

at p. 12.). 7      The EPA placed the site on the National Priorities

List, a compilation of the most contaminated sites in the United

States.    Id. at p. 15. 8

            The EPA issued the Record of Decision (“ROD”) in 2012,

setting forth the “factual and legal basis for selecting the


7 The United States is not requesting reimbursement for costs in connection with
the two plumes of groundwater located beyond the PRIDCO property.

8 The 2019 National Priorities List includes the Maunabo Area Groundwater

Contamination Superfund Site.    Superfund: National Priorities List (NPL),
(Feb. 5, 2019) available at https://www.epa.gov/superfund/superfund-national-
priorities-list-npl (last visited March 25, 2019).
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[applicable] remedy.”         (Docket No. 139, Ex. 2 at p. 7.) 9               The

remedy selected by the EPA incorporates air sparging for the cis-

1, 2-DCE plume and monitored natural attenuation for the PCE and

1, 1-DCE plumes.        (Docket No. 101, Ex. 6 at p. 75.) 10

                The United States commenced this action on September 23,

2015.      (Docket No. 21.)      The Court granted the United States’

motion     to    trifurcate   this   litigation   into   a   Liability    Phase

(“Phase I”), a Cost Phase (“Phase II”), and a Contribution Phase

(“Phase III”).        (Docket No. 85.)

      B.        Phase I: PRIDCO is Prima Facie Liable for the Release of
                Hazardous Substances

                The United States moved for summary judgment as to

liability in Phase I.         (Docket No. 101.)     PRIDCO opposed summary

judgment, emphasizing that “the technical data available to date



9
 The EPA is required to issue a Record of Decision. 42 U.S.C. § 9617; 40 C.F.R.
§ 300.430.    These documents “provide a comprehensive description of site
conditions, the scope of the action, and the Selected Remedy, cleanup levels,
and the reason for selecting the remedy.”       A Guide to Preparing Superfund
Proposed Plans, Records of Decision, and Other Remedy Selection Decision
Documents, (July 1999) (available at https://www.epa.gov/superfund/record-
decision-rod-guidance) (last visited March 25, 2019).

10 According to the ROD, “air sparging is a technology in which air is injected
into the subsurface through sparge points. The injected air acts to remove or
‘strip’ the VOCs from the groundwater.”     (Docket No. 139, Ex. 2 at p. 34.)
Monitored Natural Attenuation is a “cleanup method that relies on physical,
chemical, or biological processes that, under favorable conditions, act without
human intervention to reduce the amount, toxicity, or mobility of contamination
in soil of groundwater.” United States Environmental Protection Agency Use of
Monitored Natural Attenuation at Superfund, RCRA Corrective Action, and
Underground Storage Tank Sites, Directive 9200.4-17P (April 21, 1999) (available
at        https://www.epa.gov/sites/production/files/2014-02/documents/d9200.4-
17.pdf) (last visited March 25, 2019).
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does not support the proposition [that the property] is the source

of contamination.”       (Docket No. 116 at p. 5.) 11           The source of

contamination, however, is immaterial to the prima facie liability

analysis.    See Robertshaw Controls Co. v. Watts Regulator Co., 807

F. Supp. 144, 153 (D. Me. 1992) (“Congress specifically rejected

including a causation requirement in Section 9607.”).                    CERCLA

“sketches the contours of a strict liability regime.”                 Acushnet

Co. v. Mohasco, 191 F. 3d 69, 74 (1st Cir. 1999); see United States

v. Monsanto, 858 F.2d 160, 161 (4th Cir. 1988) (“We agree with the

overwhelming body of precedent that has interpreted [CERCLA] as

establishing a strict liability scheme.”).              CERCLA contains no


11The EPA collected subsurface soil samples from the areas adjacent to the Juan
Orozco and Puerto Rico Beverage buildings on PRIDCO’s property.          (Docket
No. 139, Ex. 2 at p. 14.) The soil contained “non-detect values for contaminants
previously detected in the Maunabo public water supply.” Id. The groundwater
below   the   subsurface   soil,   however,   contained   hazardous   substances
“represent[ing] a risk to human health and the environment.” Id. at p. 18.
PRIDCO questioned “how the contaminants may have leaked into the groundwater
without leaving any path of contamination or trace through the soil in the
surface or subsurface of [its] property.” (Docket No. 143 at p. 2.) The EPA
held a public meeting on August 29, 2012 regarding the Maunabo Area Groundwater
Contamination Superfund Site. (Docket No. 139, Ex. 3 at pp. 203—204.) At this
meeting, the EPA represented that “[it had] not detected a source contamination
. . . there is no source of the existing contamination. Where it comes from,
the origin, it is unknown.”        (Docket No. 139, Ex. 3 at pp. 203—204.)
Subsequently, the EPA retained Al Medine (“Medine”) as an expert in
environmental engineering. Medine asserts that the “lack of vadose zone soil
contamination in the area near the source areas is caused by the contaminate
fate processes/migration and enhanced by the high precipitation and high
temperature of the Maunabo area.” (Docket No. 142, Ex. 8 at p. 168.) Raúl
Colón (“Colón”) is a civil engineer with a concentration in water resources.
(Docket No. 142, Ex. 3 at p. 8.)       Colón rejects the opinions presented by
Medine, asserting that the “tropical conditions of the Island of Puerto Rico
[are] not a reliable explanation of why none of the chlorinated solvents of
concern have been detected at the PRIDCO Property soils.”        Id. at p. 28.
According to Colón, the sources of the cis-1, 2-DCE plume “identified by the
EPA at the PRIDCO property appears to originate to the north . . . at the
Navarro property.” Id. at p. 39.
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causation element.      Prisco v. A & D Carting Corp., 168 F. 3d 593,

606 (2d Cir. 1999) (“No causation is needed, however, to establish

liability      under    CERCLA.”)      (internal      citation       omitted).

Accordingly, the Court held that PRIDCO is prima facie liable for

the release of hazardous substances on its property. United States

v. P.R. Indus. Dev. Co., 287 F. Supp. 3d 133 (D.P.R. 2017) (Besosa,

J.). 12   The Court permitted PRIDCO, however, to assert certain

affirmative defenses in Phase II.         Id. at 153.      The parties later

filed cross-motions for summary judgment as to the availability of

the third-party defense.        (Docket Nos. 142 and 143.)          The United

States also moves for summary judgment regarding costs, seeking to

recover $5,398,161.04 from PRIDCO.         (Docket No. 142 at p. 13.)

II.    Standard of Review

       A court will grant summary judgment if “there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.”        Fed. R. Civ. P. 56(a).         “A dispute

is genuine if the evidence about the fact is such that a reasonable

jury could resolve the point in the favor of the non-moving party.




12
 The United States prevailed in Phase I by establishing that: (1) the property
is a facility pursuant to section 107(b) of CERCLA, (2) PRIDCO falls within one
of four categories of covered persons pursuant to section 107(a); (3) a release
or threatened release occurred on the property; and (4) the release or
threatened release caused the United States to incur response costs that are
not inconsistent with the National Contingency Plan. 42 U.S.C. § 107; Acushnet
Co., 191 F.3d at 75 (“By and large, a person who falls within one of the four
categories defined in [section 107] is exposed to CERCLA liability.”).
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A fact is material if it has the potential of determining the

outcome of the litigation.”     Dunn v. Trs. of Bos. Univ., 761 F.3d

63, 68 (1st Cir. 2014) (internal citation omitted).

     The role of summary judgment is to “pierce the boilerplate of

the pleadings and assay the parties’ proof in order to determine

whether trial is actually required.”           Tobin v. Fed. Exp. Corp.,

775 F.3d 448, 450 (1st Cir. 2014) (internal citation omitted).

The party moving for summary judgment has the initial burden of

“demonstrat[ing] the absence of a genuine issue of material fact”

with definite and competent evidence.           Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986); Maldonado-Denis v. Castillo-Rodríguez,

23 F.3d 576, 581 (1st Cir. 1994).              The movant must identify

“portions   of     ‘the     pleadings,        depositions,       answers        to

interrogatories,   and    admissions     on    file,    together     with      the

affidavits, if any’” which support its motion.             Celotex, 477 U.S.

at 323 (citing Fed. R. Civ. P. 56(c)).

     Once a properly supported motion has been presented, the

burden shifts to the nonmovant “to demonstrate that a trier of

fact reasonably could find in [its] favor.”               Santiago-Ramos v.

Centennial P.R. Wireless Corp., 217 F.3d 46, 52 (1st Cir. 2000)

(internal citation omitted).     “When the nonmovant bears the burden

of proof on a particular issue, [he or] she [or it] can thwart

summary judgment only by identifying competent evidence in the
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record sufficient to create a jury question.”               Tobin, 775 F.3d

at 450-51. A court draws all reasonable inferences from the record

in the light most favorable to the nonmovant, but it disregards

unsupported and conclusory allegations.        McGrath v. Tavares, 757

F.3d 20, 25 (1st Cir. 2014).

     When parties file cross-motions for summary judgment, a court

must “consider each motion separately, drawing all inferences in

favor of each non-moving party in turn.”            AJC Int’l, Inc. v.

Triple-S Propiedad, 790 F.3d 1, 3 (1st Cir. 2015) (quoting D & H

Therapy Assocs., LLC v. Bos. Mut. Life Ins. Co., 640 F.3d 27, 34

(1st Cir. 2011)). “Cross-motions for summary judgment do not alter

the summary judgment standard, but instead simply ‘require [the

Court] to determine whether either of the parties deserves judgment

as a matter of law on the facts that are not disputed.’”               Wells

Real Estate Inv. Tr. II, Inc. v. Chardón/Hato Rey P’ship, 615 F.3d

45, 51 (1st Cir. 2010) (quoting Adria Int’l Grp., Inc. v. Ferré

Dev., Inc., 241 F.3d 103, 107 (1st Cir. 2001)).
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III. Summary Judgment as           to    PRIDCO’s      Affirmative    Third-Party
     Defense is Warranted
       The United States moves to foreclose PRIDCO from asserting

the third-party defense.          Docket No. 142; 42 U.S.C. § 9607(b). 13

PRIDCO      argues,   however,   that    the    third-party       defense    defeats

CERCLA liability because “it is presently unknown from a scientific

and     technical     perspective,      where    the     true     source    of     the

contamination is [located].”            (Docket No. 143 at p. 2.)           PRIDCO’s

arguments are unavailing.

       A.     The Third-Party Defense

              The third-party defense provides PRIDCO with a potential

reprieve from the strict liability scheme in CERCLA.                       To invoke

this defense, PRIDCO must establish by a preponderance of the

evidence that “an act or omission of a third party other than an

employee or agent of [PRIDCO], or than one whose act or omission

occurs in connection with a contractual relationship” caused the




13PRIDCO previously invoked the Act of God and secured creditor defenses. 42
U.S.C. § 9607(b). (Docket No. 11 at pp. 7—8.) An Act of God is an “unanticipated
grave natural disaster or other natural phenomenon of an exceptional,
inevitable, and irresistible character, the effects of which could not have
been prevented or avoided by the exercise of due care or foresight.” 42 U.S.C.
§ 9601(1).   The security creditor defense extends to any “person that is a
lender that without participating in the management of a vessel or facility,
holds indicia of ownership primarily to protect his security interest in the
vessel or facility.” 42 U.S.C. § 9601(20)(E); P.R. Indus. Dev. Co., 287 F.
Supp. 3d at 150 (“Banks possessing mortgages only to secure loan payments, for
example, represent the entities that Congress intended to exempt from
liability.”) (citation omitted).    The Court has already held that PRIDCO is
ineligible for both defenses. Id. at 147.
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groundwater contamination.            U.S.C. § 9607(b)(3). 14           CERCLA sets

forth two variations of the third-party defense:                   (1) the innocent

landowner    defense,    and    (2)     the    contiguous     property        defense.

42 U.S.C. 9607(b)(3) and (q); United States v. A & N Cleaners &

Launderers, 854 F. Supp. 229, 238 (S.D.N.Y. 1994) (holding that

“the Innocent Landowner Defense” is a “special case of the Third

Party Defense”). To trigger the innocent landowner defense, PRIDCO

must demonstrate that it “purchase[d] property without knowledge

that a predecessor in the chain of title had allowed hazardous

substances to be disposed on the property.”                    Domenic Lombardi

Realty, 290 F. Supp. 2d 198, 208 (D.R.I. 2008) (citation omitted). 15

The contiguous property defense requires PRIDCO to establish that

it “did not cause, contribute, or consent to the release or

threatened    release”    of    hazardous       substances     originating       from

property     with   which      PRIDCO     is    unaffiliated.            42    U.S.C.

§ 9607(q)(1)(A)(i);      Wilson        Rd.     Dev.   Corp.        v.   Fronabarger




14 The term “contractual relationship” encompasses “land contracts, deeds,
easements, or other instrument transferring title or possession.” 42 U.S.C.
§ 9601(35)(A).

15 PRIDCO must also establish that it “took all appropriate inquiry into the
previous ownership and uses of the property consistent with good commercial or
customary practice,” and exercised due care regarding the hazardous substances
once the contamination was discovered.     42 U.S.C. § 9607(b)(3); 42 U.S.C.
§ 9601(35)(A)-(B).
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Concreters, Inc., 971 F. Supp. 2d 896, 913 (E.D. Mo. 2013). 16            Both

defenses obligate PRIDCO to prove that “a totally unrelated third

party is the sole cause of the release.”          O’Neil v. Picillo, 682

F. Supp. 706, 728 (D.R.I. 1988) (emphasis in original) (citation

omitted).

      B.    PRIDCO is Not Eligible to Invoke the Third-Party Defense

            PRIDCO    misconstrues     the    third-party       defense       by

repeatedly assigning the burden of proof to the United States.

(Docket Nos. 143, 153 and 161.)        The linchpin of PRIDCO’s third-

party defense is that the United States “lacks any physical or

hard evidence to demonstrate that [PRIDCO’s] property is the source

of contamination [of] the cis-1, 2-DCE plume.”          (Docket No. 143 at

pp. 9–10.)      Pursuant to CERCLA, however, PRIDCO shoulders the

burden of proving that acts or omissions of an unrelated third-

party were the sole cause of the groundwater contamination.                   42

U.S.C. § 9607(b)(3).       See Domenic Lombardi Realty, Inc., 290 F.

Supp. 2d at 209 (“In order to take advantage of the innocent

landowner defense, Lombardi Realty must first meet the threshold

burden of proving that the contamination at the Site was caused

solely by an act or omission of a third party.”) (internal citation




16
 The contiguous property owner defense also requires PRIDCO to establish that
it took remedial measures after discovering the contaminated groundwater. 42
U.S.C. § 9607(q)(A)(v)(II).
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and quotation omitted); Foster v. United States, 922 F. Supp. 642,

654 (D.D.C. 1996) (“A defendant’s failure to meet its burden on

any one of the required elements precludes application of [the

third-party defense].”) (citation omitted); United States v. Poly-

Carb, Inc., 951 F. Supp. 1518, 1531 (D. Nev. 1996) (“Defendant

bears the burden of producing evidence (at the summary judgment

stage) that a third party was the sole cause and that this third-

party had no ‘relationship’ with [the] Defendant within the meaning

of § 9607(b)(3).”) (citation omitted). 17         This PRIDCO has not done.

            Moreover, the National Contingency Plan provides that

“persons    seeking   to   establish    [the    third-party     defense]    must

conduct investigations . . . to identify conditions indicative of

releases or threatened releases.”          40 C.F.R. § 312.1(c). 18




17The United States need not identify the source of contamination to establish
liability. See Fairchild Indus., Inc., 766 F. Supp. 404, 415 (D. Md. 1991)
(“The government need not trace each defendant’s waste to a specific release
and response.”); Kelly v. Thomas Solvent Co., 727 F. Supp. 1532, 1540 (W.D.
Mich. 1989) (holding that defendants could not avail themselves of the third-
party defense because they “have not shown any evidence, nor have they argued,
that a third party was the sole cause of the release and concomitant harm”);
Acme Printing Ink Co. v. Menard, Inc., 870 F. Supp. 1465, 1480 (E.D. Wis. 1994)
(third-party defense inapplicable because “the undetermined third-party was not
the sole cause of the release”).

18 According to the United States, the EPA “determined that the groundwater
plume at issue originates from the PRIDCO property, . . . and this Court affirmed
that finding.” (Docket No. 139 at pp. 4—5.) This statement is incorrect. The
Court merely held that a “release” of hazardous substances occurred on PRIDCO’s
property. P.R. Indus. Dev. Co., 287 F. Supp. 3d at 145. Indeed, the Court
permitted PRIDCO to assert the third-party defense in Phase II of this
litigation precisely because “further factual development as to the cause of
the release [was] necessary before the Court [could] determine whether summary
judgment is justified as to these defenses.” Id. at 148-9.
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           PRIDCO emphasizes that the source of contamination is

unknown.      (Docket No. 143 at p. 45.)          This proposition only

underscores     that   the   third-party     defense     is     inapplicable.

Contending that the “likely source of contamination is not within

the PRIDCO property, but rather, at the upgradient property of

Navarro” is insufficient.        (Docket No. 153 at p. 2) (emphasis

added); Fairchild Indus., 766 F. Supp. at 411 (“The detailed

provisions of [Section 9607(b)(3)] demonstrate that Congress did

not intend there to be a general third-party defense; instead, a

party must allege and prove a specific set of facts [among which

are]:   that the third party was the sole cause of the release;

[and] that the third party was not an employee or agent of the

defendant.”). The third-party defense is triggered only by proving

that the sole cause of contamination originated with an unrelated

third-party, not that a third-party likely caused or contributed

to the contamination.        47 U.S.C. § 9607; see Monsanto Co., 858

F.2d at 168 (“Section 107(b)(3) sets forth a limited affirmative

defense based on the complete absence of causation.”); City of

Bangor v. Citizens Co., 437 F. Supp. 2d 180, 213-14 (D. Me. 2006)

(holding   utility     company   liable   pursuant     to     CERCLA   despite

repeated suggestions that “no fewer than eight other sources”

caused the contamination).
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            PRIDCO   also     maintains   that   establishing      liability

without identifying the source of contamination “is not in the

spirit of CERCLA.” (Docket No. 143 at p. 25.) The Court disagrees.

CERCLA is a comprehensive and at times severe statute, holding

property owners strictly liable for hazardous substances located

on their property.     See Consolidation Coal Co. v. Ga. Power Co.,

781 F.3d 129, 156 (4th Cir. 2015) (holding that CERCLA “must be

given a broad interpretation to effect its ameliorative goals . . .

even if faithful application of CERCLA may . . . yield seemingly

harsh results”) (citations omitted); A & N Cleaners & Launders,

854 F. Supp. at 241 (“CERCLA’s narrow affirmative defenses do

little to alleviate the unfairness of the statute’s liability

scheme, particularly in cases where liability is predicated solely

on property ownership.”).       In enacting CERCLA, however, “Congress

had well in mind that persons who dump or store hazardous waste

sometimes cannot be located or may be deceased or judgment-proof.”

New York v. Shore Realty Corp., 759 F.2d 1032, 1045 (2d Cir. 1985)

(citation omitted).         CERCLA addresses environmental threats to

public safety by “[creating] a strong incentive for both prevention

of releases and voluntary cleanup of releases by responsible

parties.”    United States v. Twp. of Brighton, 152 F.3d 307, 330

(6th Cir. 1998); United States v. Mex. Feed & Seed Co., 980 F.2d

478, 484 (8th Cir. 1992) (noting that for CERCLA, the “focus is on
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responsibility, not culpability”); Commander Oil Corp. v. Barlo

Equip. Corp., 215 F.3d 321, 327 (2d Cir. 2000) (“The scheme

envisioned by Congress protects taxpayers generally from bearing

the    costs    of    nationwide   cleanup   .    .   .   instead,     potentially

responsible parties must shoulder the frequently heavy burden of

environmental liability.”) (citation omitted).

               Holding PRIDCO liable for response costs pertaining to

the cleanup of the cis-1, 2-DCE plume is consistent with Congress’s

intent to promote expeditious remediation at contaminated sites,

adequate compensation to public coffers, and the imposition of

accountability.         See United States v. Davis, 261 F.3d 1, 26-7 (1st

Cir. 2001).          Because PRIDCO failed to raise a genuine issue of

material fact as to whether a third-party was the sole cause of

the contamination, the United States is entitled to response costs.

See    Domenic       Lombardi   Realty,   Inc.,   290     F.   Supp.   2d   at     207

(“[U]nless Lombardi Realty can take advantage of one of CERCLA’s

defenses, it will be liable for the clean-up costs incurred by the

EPA.”).     Phase I (Liability) of this action is complete.

IV.    Phase II:       The United States Seeks $5,398,161.04 in Response
       Costs

       According to the United States, “there is no question of

material fact that [it] incurred at least $5,398,161.04 through

February 28, 2018 in response costs related to the cis-1, 2-DCE
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plume.”     (Docket No. 142 at p. 9.)              Because PRIDCO is liable for

the contaminated groundwater, the United States is entitled to

“all costs of removal or remedial action . . . not inconsistent

with the national contingency plan.”                 42 U.S.C. § 9607(1)(4)(A).

Accordingly,        two    factors   are    relevant     to    the    cost   analysis:

(1) the response actions implemented by the United States, and

(2) the National Contingency Plan (“NCP”).

       A.    National Contingency Plan

             The NCP is “essentially the federal government’s toxic

waste playbook, detailing the steps that government must take to

identify, evaluate, and respond to hazardous substances in the

environment.”        Niagara Mohawk Power Corp. v. Chevron U.S.A., Inc.,

596 F.3d 112, 137 (2nd Cir. 2010); 40 C.F.R. § 300.1 (“The purpose

of    the   [NCP]    is    to   provide    the    organizational       structure       and

procedure for preparing for and responding to discharges of oil

and     releases          of    hazardous        substances,     pollutants,           and

contaminants.”); United States v. Hardage, 982 F.2d 1436, 1442-

443 (10th Cir. 1992) (“The NCP regulates choice of response action,

not costs . . . Costs, by themselves, cannot be inconsistent with
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the NCP”). 19       Costs attributed to removal and remedial actions that

are inconsistent with the NCP are not recoverable.                     See e.g., In

re Bell Petroleum Servs., 3 F.3d 889, 907 (5th Cir. 1993) (“Because

the decision to implement an [alternate water supply] was arbitrary

and capricious, it is inconsistent with the NCP.                    Accordingly, the

EPA    is     not   entitled   to    recover   the   costs    of      designing       and

constructing the [alternate water supply].”).

               The Court presumes that the United States implemented

removal and remedial actions that are consistent with the NCP.

City of Bangor v. Citizens Communs. Co., 532 F.3d 70, 91 (1st Cir.


19 The NCP requires that the EPA consider the following eight factors in
selecting a removal action:

     (i)       Actual or potential exposure to nearby human populations, animals,
               or the food chain from hazardous substances or pollutants or
               contaminants;

     (ii)      Actual or potential contamination of drinking water supplies or
               sensitive ecosystems;

     (iii)     Hazardous substances or pollutants or contaminants in drums,
               barrels, tanks, or other bulk storage containers, that may pose a
               threat of release;

     (iv)      High levels of hazardous substances or pollutants or contaminants
               in soils largely at or near the surface, that may migrate;

     (v)       Weather conditions that may cause hazardous substances                  or
               pollutants or contaminants to migrate or be released;

     (vi)      Threat of fire or explosion;

     (vii)     The availability of other appropriate federal or state response
               mechanisms to respond to the release; and

     (viii)    Other situations or factors that may pose threats to public health
               or welfare of the United States or the environment.

40 C.F.R. § 300.415.
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2008) (“Actions undertaken by the federal or a state government

are presumed to not be inconsistent with the NCP.”). Consequently,

the burden of proving that the EPA acted inconsistently with the

NCP rests with PRIDCO. United States v. Mottolo, 695 F. Supp. 615,

630 (D.N.H.   1988)    (“Defendants   have    the    burden    to   show    that

governmental response costs are inconsistent with the NCP.”).                   To

do so, PRIDCO must “identify a particular provision in the NCP

with which a specific response action is inconsistent,” and that

this inconsistency “resulted in demonstrable excess costs for

which [PRIDCO] would not be responsible.”            United States v. Am.

Cyanamid Co., 786 F. Supp. 152, 162-63 (D.R.I. 1992) (holding that

the defendants failed to establish inconsistency with the NCP

because their “claims and challenges [were] not supported by

reference to the administrative record or through testimony”);

Hardage, 982 F.2d at 1444 (“The only way a responsible party can

escape   liability    for   the   government’s      costs     incurred     at    a

particular site is to demonstrate that the government’s response

actions — i.e., removal and remedial actions – underlying the

costs, are inconsistent with the NCP.”).

           The removal and remedial actions implemented by the EPA

in response to the contaminated groundwater in Maunabo are reviewed

pursuant to an arbitrary and capricious standard.                Id.; United

States v. JG-24, Inc., 478 F.3d 28, 32 (1st Cir. 2007) (“[T]he
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EPA’s decision whether to conduct a removal action is reviewed

under the ‘arbitrary and capricious’ standard.”).            The arbitrary

and capricious standard is “highly deferential” and “narrow;” “the

agency’s actions are presumed to be valid,” and the Court “may not

substitute its judgment for that of the agency.” River St. Donuts,

LLC v. Napolitano, 558 F.3d 111, 114 (1st Cir. 2009).                    “The

relevant   inquiry”    is   “whether       the   administrative       record

sufficiently supports the agency’s decision.”           Atieh v. Riordan,

727 F.3d 73, 76 (1st Cir. 2013); Emhart Indus. v. New Eng.

Container Co., 274 F. Supp. 3d 30, 78 (D.R.I. 2017) (holding that

the “EPA certainly had to make judgment calls along the way, but

these decisions deserve deference considering EPA’s ‘technical

expertise and experience’”) (quoting Fed. Power Comm’n v. Fla.

Power & Light Co., 404 U.S. 453, 465 (1972)).

           Judicial review of “any issues concerning the adequacy

of any response action” is limited to the administrative record.

42 U.S.C. § 9613(j).   The Court’s “focal point for judicial review

should be the administrative record already in existence, not some

new record made initially in the reviewing court.”           Camp v. Pitts,

411 U.S. 138, 142 (1973); JG-24, Inc., 478 F.3d at 33—34 (“Under

CERCLA, judicial review is limited to the administrative record as

it existed at the time of the challenged agency action.”); see

Walter O. Boswell Mem’l Hosp. v. Heckler, 749 F.2d 788, 792 (D.C.
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Cir.     1984)    (“To    review      more   than    the   information     before      the

Secretary at the time she made her decision risks our requiring

administrators to be prescient or allowing them to take advantage

of post hoc rationalizations.”) (citation omitted). 20

        B.      Removal and Remedial Costs

                Removal    and     remedial      costs     are   defined   liberally,

encompassing        expenses          incurred      throughout     the     course       of

decontamination efforts.              W.R. Grace & Co. –Conn. v. Zotos Int’l,

Inc.,     559    F.3d     85,    92    (2d   Cir.    2009)   (citation     omitted). 21

Response actions are “divided into two categories:                         short term




20Courts possess the discretion, however, to supplement the record “as an aid
to understanding . . . highly technical, environmental matters.”         Valley
Citizens for Safe Environment v. Aldridge, 886 F.2d 458, 460 (1st Cir. 1989)
(Breyer, J.)   (noting that expert testimony may be necessary to understand
Environmental Impact Statements issued by the EPA).        “Failure to explain
administrative action as to frustrate effective judicial review,” and a “strong
showing of bad faith or improper behavior” are additional reasons to supplement
the administrative record. See Olsen v. United States, 414 F.3d 144, 155-56
(1st Cir. 2005); Town of Norfolk v. U.S. Army of Eng’rs, 968 F.2d 1438, 1458-
59 (1st Cir. 1992) (citing Citizens to Preserve Overton Park, Inc. v. Volpe,
401 U.S. 402 (1971)).

21   The NCP provides that:

        During all phases of response, the lead agency shall complete and
        maintain documentation to support all actions taken under the NCP
        and to form the basis for cost recovery. In general, documentation
        shall be sufficient to provide the source and circumstances of the
        release, the identity of responsible parties, the response action
        taken, accurate accounting of federal, state, or private party costs
        incurred for response actions, and impacts and potential impacts to
        the public health and welfare and the environment. Where applicable,
        documentation shall state when the [National Response Center]
        received notification of a release of a reportable quantity.

40 C.F.R. § 300.160.
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‘removal’ actions (to study and to clean up contamination), and

permanent or long term ‘remedial’ actions (‘taken instead of or in

addition to removal actions’).”            JACH v. American Univ., 245 F.

Supp. 2d 110, 113 (D.D.C. 2003); 42 U.S.C. § 9601(23) and (24). 22

Designation of a specific response as a removal or remedial action

is a question of law.         Geraghty & Miller, Inc. v. Conoco Inc., 234

F.3d 917, 925 (5th Cir. 2000) (citation omitted).                     Recoverable

costs include indirect and oversight costs.                   United States v.

Ottati & Goss, Inc., 900 F.2d 429, 444 (1st Cir. 1990).                   PRIDCO is

also     liable     for   prejudgment   interest     and    enforcement     costs.

42 U.S.C.      §§   9601,   9607(a);    Monsanto     Co.,   858    F.2d    at   175.

Litigation costs fall within the scope of enforcement costs.                       See

United States v. Northeastern Pharmaceuticals & Chemical Co., 579


22   “Removal” within the meaning of CERCLA includes the:

        Cleanup or removal of released hazardous substances from the
        environment, such actions as may be necessary taken in the event of
        the threat of release of hazardous substances into the environment,
        such actions as may be necessary to monitor, assess, and evaluate
        the release or threat of hazardous substances, the disposal of
        removed material, or the taking of such other actions as may be
        necessary to prevent, minimize, or mitigate damage to the public
        health or welfare or to the environment, which may otherwise result
        from a release or threat of release.

42 U.S.C. § 9601(23).     Remedial actions are:

        consistent with permanent remedy taken instead of or in addition to
        removal actions in the event of a release or threatened release of
        a hazardous substance into the environment, to prevent or minimize
        the release of hazardous substances so that they do not migrate to
        cause substantial danger to present or future public health or
        welfare or the environment.

42 U.S.C. § 9601(24).
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F. Supp. 823, 852 (W.D. Mo. 1984) (holding that “defendants are

jointly and severally liable for, and the plaintiff is entitled to

recover, all litigation costs, including attorney fees, incurred

by [the] plaintiff” in a CERCLA action); United States v. Dico,

266 F.3d 864, 878—79 (8th Cir. 2001) (“[Defendant] therefore bears

the    burden     in    this   [CERCLA]      litigation       of    proving      that      the

government’s requested recovery fees, whether attorney fees or

otherwise, are inconsistent with the NCP.”).

       C.    Summary Judgment as to Costs is Not Appropriate

             Summary judgment as to costs is not warranted for two

reasons.     First, genuine issues of material fact concerning the

final amount of costs are in dispute. Second, the cost assessments

presented by the United States are inconsistent.                         PRIDCO is liable

for costs that correspond to response actions.                              The response

actions     cited      by    the   United    States,    however,          vary   with      the

circumstances.

             1.        Issues of Material Fact Concerning the Final Amount
                       of Costs are in Dispute
                       The    evidence      proffered    by        the    United    States

bolsters the Court’s determination that summary judgment is not

proper.     In support of its motion for summary judgment, the United

States submitted declarations from Wiley Wright (“Wright”), Bill

Kime    (“Kime”),       and    Christopher     Osborne    (“Osborne”).             (Docket
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No. 142,     Exs.    9—11.)        Wright    and   Kime   are      certified    public

accountants.        Id., Exs. 9 and 10.        Osborne is employed by the EPA

as a Senior Financial Advisor in the Office of the Controller.

Id., Ex. 11.

                     The   Court    concurs    with    the    United    States    that

“affidavits and cost summaries . . . in support of summary judgment

on the issue of CERCLA cost recovery are admissible and sufficient

to establish the amount of these costs.”               Docket No. 142 at p. 11;

see Hardage, 982 F.2d at 1442 (holding that “affidavits of various

EPA    and   Department       of   Justice    (DOJ)    employees       charged    with

accumulating cost data . . . established a prima facie case that

the government is entitled to response costs in the amount of

[$5,441,201.25]”); Carson Harbor Hill, Ltd. v. Uncocal Corp., 287

F. Supp. 2d 1118, 1154 (C.D. Cal. 2003) (“While compliance with

the NCP is a fact question, it can, like any other fact question,

be     resolved      on    summary     judgment       where     the    evidence       is

undisputed.”).        Material facts, however, are in dispute.

                     Wright concedes that the “EPA is collecting the

work performed documents for five small dollar contracts and two

small    dollar     cooperative      agreements,      [all    of    which]     will   be

produced to all parties as soon as they are available.”                        (Docket

No. 142, Ex. 9 at p. 7.)           PRIDCO is entitled to review the accuracy

of these “small” costs, and whether they reflect actions that
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comport with the NCP.          An incomplete record cannot sustain summary

judgment disposition, particularly when the amount of costs is

subject to exact computation.            Union Caribe Corp. v Thiokol Corp.,

89 F. Supp. 1035, 1045 (D. Ga. 1994) (“Because the NCP is a complex

set of requirements, it is necessary for the Court to have a full

factual record before it in order to determine which remedial

actions are consistent with the NCP.”) (citation omitted); Reardon

v. United States, 947 F.2d 1509, 1518 (1st Cir. 1991) (noting that

“[w]hether response costs were incurred consistently with the

national      contingency      plan   is    an   issue       which    may    be    highly

factual”).         Accordingly,       summary     judgment       in     Phase     II   is

inappropriate.

              2.   The United States Fails to Designate Which Remedial
                   Actions Underlie Recoverable Costs

                   In its motion for summary judgment and motion to

limit   the    scope    of    judicial     review,     the    United    States     takes

inconsistent positions regarding the actions for which PRIDCO must

pay.    (Docket Nos. 138 and 142.)

                   a.        Costs Requested     in     the    Motion       for   Summary
                             Judgment

                             In its motion for summary judgment, the United

States contends that the “second phase of this litigation addresses

the United States’ past response costs.” (Docket No. 142 at p. 7.)

The United States reiterates that CERCLA permits the recovery of
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“all costs of removal or remedial action.”              Id. at p. 8 (citing 42

U.S.C. § 9607(a)(4)(A)).       Consequently, the United States requests

that the Court order PRIDCO to remit $5,398,161.04 in costs.                         Id.

at p. 13.    According to the United States, this amount represents

three   categories   of   costs:      (1)    payroll    and    travel       expenses,

(2) contractor     expenses,    and    (3)    a    third     class     of   expenses

including indirect costs, prejudgment interest, and Department of

Justice (“DOJ”) costs.        (Docket No. 142 at p. 10.)

                       According       to    Kime,     the    Environmental          and

Natural Resources Division of the Department of Justice incurred

$529,441.79 in costs associated with this action. (Docket No. 142,

Ex. 10 at p. 5.)      Osborne set forth the method by which the EPA

calculates indirect costs, including expenses that “cannot be

accounted for on a site-specific basis but are necessary for both

the administration and operation of the Superfund program and for

site-specific cleanup efforts.”         (Docket No. 142, Ex. 11 at p. 4.)

Wright asserts that “total unreimbursed Site costs incurred . . .

through February 28, 2018 are $7,497,445.89.”                  (Docket No. 142,

Ex. 9 at p. 7.) 23    Of this amount, the “EPA’s total unreimbursed

Site TCE-cis-1, 2-DCE Plumes costs incurred (including prejudgment

interest) through February 28, 2018 are $5,398,161.04.”                       Id. at



23Wright included litigation and indirect costs in his calculations.           (Docket
No. 142, Ex. 9 at p. 7.)
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p. 8. 24   Most of the costs claimed by the United States derive from

$4,183,530.36 in contractor expenses.           Id. at p. 13. 25            The United

States     does   not,   however,   specify   what         work    the     contractors

performed.

                   b.    Costs Requested        in     the        Motion    to   Limit
                         Judicial Review

                         The United States moves to limit the scope of

judicial review, requesting that “any challenge to the adequacy of

the response actions at the Site be evaluated on the basis of the

administrative record and that [Konard Banaszak’s] expert opinion

challenging the EPA’s selection of a response action at this Site

be    precluded     based   upon    statutory        and     administrative          law




24Wright refers to the “TCE-cis-1, 2-DCE Plumes” in the plural, as though PRIDCO
is liable for multiple plumes of contaminated groundwater. (Docket No. 142,
Ex. 9 at p. 7.) Of the three plumes that constitute the Maunabo Area Groundwater
Contamination Superfund Site, however, this action pertains exclusively to the
plume located on PRIDCO’s property.

25In the amended complaint, the United States also requests “all response costs,
including enforcement costs, incurred by the EPA in connection with the Site,
including interest thereon.” (Docket No. 8 at p. 9.)
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requirements.”      (Docket No. 138 at p. 3.) 26       Other than Banaszak’s

expert opinion, the United States makes no mention of the specific

documents it seeks to preclude from the administrative record.

Essentially, the United States opposes the Court’s consideration

of Banaszak’s expert opinion but refrains from proposing records

that are eligible for review.

                         PRIDCO opposed the United States’ motion to

limit the scope of judicial review, noting that the EPA conducted

soil studies on multiple occasions after issuing the Record of

Decision in 2012.       (Docket No. 148 at pp. 5—7.)             Pursuant to the

NCP,    the   administrative      record    shall    include,      inter    alia,

“[d]ocuments containing factual information, data and analysis of

the factual information, and data that may form a basis for the



26Konrad Banaszak (“Banaszak”) is the Chief Scientist at Genesis Engineering
and Redevelopment, Inc., retained by PRIDCO to serve as an expert witness.
(Docket No. 139, Ex. 1.) Banaszak asserts that:

       [1] The claim by the EPA’s expert that 1,2 dichloroethene or
       trichloroethene has not been found in the soil at the PRIDCO site
       because they have disappeared due to the tropical climate at Maunabo
       is not supported by experience or science . . . [2] The most cost
       effective and least disruptive way to take care of the 1,2
       dichloroethene / trichloroethene plume is through monitored natural
       attenuation.

(Docket No. 139, Ex. 1 at pp. 3—6.) The NCP requires the EPA to balance the
following five criteria in selecting a remedy: (1) long-term effectiveness and
permanence, (2) reduction of toxicity, mobility, or volume treatment, (3) short-
term effectiveness, (4) implementability, and (5) cost.               40 C.F.R.
§ 300.430(f)(i)(B); see Am. Cyanamid Co., 786 F. Supp. at 162 (“The NCP directs
EPA to prospectively choose a remedial action that EPA believes will clean-up
the site for the least cost. Once EPA validly chooses a permanent remedy for
a site, cost-effectiveness is no longer a viable challenge to the implementation
of that remedy.”).
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selection of a response action.”              40 C.F.R. § 300.810(a)(1).

PRIDCO posits that the Final Pre-Design Investigation in 2015 and

Pilot Study Report in 2017 were “critical in forming the basis for

the selection of the response action.”             Id. at p. 11.         Indeed,

expert witnesses retained by the United States relied on data

published in 2017. 27

                         Despite   previous    requests     to    recover    “all

costs” associated with the cis-1, 2-DCE plume, the United States

replied that “in this matter [it] is only seeking its past costs,

i.e., primarily the costs of investigating the contamination, in

making    the   remedy   selection,     and   in   conducting       enforcement

actions, but no costs for implementing the selected remedy.”

(Docket No. 159 at p. 1) (emphasis added).                The United States

purports    that   PRIDCO’s   arguments    regarding     the     administrative

record “are premature and should be considered only if the United

States brings a future action against PRIDCO seeking to require it

to implement or pay for the remedy for the Maunabo Site.”                 Id. at

p. 2.    Curiously, the United States reiterates that:

      [It] is not seeking, in this matter, an order requiring
      PRIDCO to implement the 2012 remedy or to recover any
      costs that the EPA itself incurs in implementing the
      2012 remedy. The United States will bring such claims,
      if ever, in a future action against PRIDCO.

27Al Medine asserted that a “detailed review of Investigative contaminant data
collected at the Maunabo Groundwater Contamination Site from 2005 - 2017
confirms the presence of three separate plumes remaining at the Site, including
PCE, TCE/cis-1,2-DCE, and 1,1-DCE plumes.” (Docket No. 142, Ex. 8 at p. 168.)
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Id. at p. 3 (emphasis added). 28

                           These     statements    contradict      all    previous

pleadings submitted by the United States, including the amended

complaint and motion for summary judgment.                 See Docket No. 8 at

p. 9; Docket No. 142 at p. 8.             The EPA initially estimated that

the selected remedy, i.e. air sparging for the cis-1, 2-DCE plume

and monitored natural attentional for the reaming two plumes, would

cost $4.9 million.     (Docket No. 139, Ex. 2 at p. 38.)             Wiley Wright

disclosed that the “EPA has provided the majority of work performed

(e.g. contracts, statements of work, and/or work assignment) for

the Site contractor costs.”            (Docket No. 142, Ex. 9 at p. 7.)            If

the United States is, indeed, not seeking to recover costs stemming

from air sparging (the remedy), then the costs cited by Wiley

Wright   may   need   to    be     modified.      Consequently,     the   critical

question posed by the inconsistent positions articulated by the

United Sates is:      What removal and/or remedial actions implemented

by the EPA to address the cis-1, 2-DCE plume form the basis of the



28 That the United States may sue PRIDCO in the future pursuant to the same
cause of action asserted in this litigation is highly suspect.        See United
States v. Stauffer Chemical Co., 464 U.S. 165, 169 (1984) (“[W]e agree that the
doctrine of mutual defense collateral estoppel is applicable against the
Government to preclude relitigation of the same issues already litigated against
the same party in another case involving virtually identical facts.”); United
States v. Gurley, 43 F.3d 1188, 1196 (8th Cir. 1994) (“We understand that
cleaning up hazardous wastes can be time-consuming and that in this case the
scope of the cleanup was not known until April 1986 . . . But these facts do
not relieve the EPA of its obligation to abide by the requirements of the res
judicata doctrine.”).
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costs requested by the United States? The United States is ORDERED

to specify which response actions (e.g. removal actions, remedial

actions) underlie the costs that it purports PRIDCO is liable for

paying.    Trial for Phase II will commence after the United States

reconciles the inconsistent cost assessments.           The United States’

motion to limit the scope of judicial review is DENIED WITHOUT

PREJUDICE.    (Docket No. 138.)

V.    CONCLUSION

      For the reasons set forth above, the United States’ motion

for summary judgment is GRANTED IN PART and DENIED IN PART.

(Docket No. 142.)       PRIDCO’s motion for summary judgment is DENIED.

(Docket No. 143.)       The United States’ motion to limit the scope of

judicial review is DENIED WITHOUT PREJUDICE.             (Docket No. 138.)

The United States is ORDERED to specify which response actions

(e.g. removal actions, remedial actions) underlie the costs for

which     PRIDCO   is   purportedly   liable,    and    to    reconcile       its

inconsistent cost assessments, no later than April 25, 2019.

      Trial regarding Phase II, if necessary, will be scheduled by

separate order.

      IT IS SO ORDERED.

      San Juan, Puerto Rico, March 25, 2019.

                                        s/ Francisco A. Besosa
                                        FRANCISCO A. BESOSA
                                        UNITED STATES DISTRICT JUDGE
